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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR04-512-MJP
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
11   JAMES KENT WALTER,                   )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14          An initial hearing on supervised release revocation in this case was scheduled before me

15 on April 28, 2006. The United States was represented by AUSA Tessa Gorman and the defendant

16 by Catherine Chaney. The proceedings were digitally recorded.

17          Defendant had been sentenced on or about November 28, 2005 by the Honorable Marsha

18 J. Pechman on a charge of Conspiracy to Commit Bank Fraud, and sentenced to time served, 5

19 years supervised release. An amended judgment was filed on February 1, 2006. (Dkt. 289.)

20          The conditions of supervised release included the standard conditions plus the requirements

21 that defendant cooperate in the collection of DNA, no firearms, submit to drug testing as specified,

22 participate in a substance abuse treatment program, submit to search, participate in a mental health


     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS TO
     ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 program, pay restitution n the amount of $35,200, provide access to any requested financial

02 information, allow probation officer to inspect personal computer, report all software and new

03 software purchases, consent to monitoring of computer, no new credit without permission, do not

04 obtain identification documents in any but true name, electronic home monitoring for up to 180

05 days, and take all prescribed medications.

06          In an application dated April 21, 2006 (Dkt 366), U.S. Probation Officer Michael S. Larsen

07 alleged the following violation of the conditions of probation:

08          1.     Failure to complete electronic home monitoring program, as directed by the

09 probation officer, in violation of the special condition requiring him to complete up to 180 days

10 of electronic home monitoring.

11          Defendant was advised in full as to the charge and as to his constitutional rights.

12          Defendant admitted the alleged violation and waived any evidentiary hearing as to whether

13 it occurred.

14          I therefore recommend the Court find defendant violated his supervised release as alleged,

15 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

16 set before Judge Pechman.

17          Pending a final determination by the Court, defendant has been detained.

18          DATED this 28th day of April, 2006.



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20                                                 Mary Alice Theiler
                                                   United States Magistrate Judge
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS TO
     ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 cc:    District Judge:         Honorable Marsha J. Pechman
          AUSA:                   Tessa Gorman
          Defendant’s attorney:   Catherine Chaney
02        Probation officer:      Michael J. Larsen
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS TO
     ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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